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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION




JOSEPH KELLY DINGLER, #00149118, )
                                 )
          Plaintiff,             )
                                 )
VS.                              )                       CIVIL ACTION NO.
                                 )
ROCKWALL CO, TX JUDGE            )                       3:22-CV-1239-G-BK
WOODWARD,                        )
                                 )
          Defendant.             )




       ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
  RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

      The United States Magistrate Judge made Findings, Conclusions, and a

Recommendation in this case. Objections were filed. The district court reviewed de

novo those portions of the proposed findings, conclusions, and recommendation to

which objection was made, and reviewed the remaining proposed findings,

conclusions, and recommendation for plain error. The court ACCEPTS the Findings,

Conclusions, and Recommendation of the United States Magistrate Judge, except for

the following: on page one, line five, “PLAINTIFF” should be replaced with

“PETITIONER”; on page one, line 12, “DEFENDANTS” should be replaced with

“DEFENDANT”; on page one, line 17, “2021” should be replaced with “2022”; and

on page three, line five, “(2007)” should be replaced with “(2007) (citation

omitted)”.
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      SO ORDERED.

June 24, 2022.
                                  ___________________________________
                                  A. JOE FISH
                                  Senior United States District Judge




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